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Dated: August 23, 2016.

                                                Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 23rd day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served to all parties of record via transmission of the Electronic

Court Filing System generated by CM/ECF.

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